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                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               WESTERN DIVISION

CITY OF ROCKFORD, et al.,
                      Plaintiffs,
                                                     Case No. 3:17-cv-50107
             v.                                      Hon. Frederick J. Kapala, Judge
MALLINCKRODT ARD INC., et al.,                       Hon. Iain D. Johnston, Magistrate
                             Defendants.                Judge
__________________________________________
MSP RECOVERY CLAIMS, SERIES LLC, et al.,
                             Plaintiffs,
             v.                                      Case No. 1:18-cv-00379
MALLINCKRODT ARD INC., et al.,                       Hon. Frederick J. Kapala, Judge
                             Defendants.             Hon. Iain D. Johnston, Magistrate
                                                        Judge


                          JOINT WRITTEN STATUS REPORT
             NOW COME Plaintiffs CITY OF ROCKFORD and ACUMENT GLOBAL

TECHNOLOGIES, INC. (“Rockford Plaintiffs”); and Plaintiffs MSP RECOVERY CLAIMS,

SERIES, LLC, MAO-MSO RECOVERY II, LLC, MSP RECOVERY, LLC, and MSPA

CLAIMS 1, LLC (“MSP Plaintiffs”); and Defendants MALLINCKRODT ARD INC. formerly

known as QUESTCOR PHARMACEUTICALS, INC., MALLINCKRODT PLC, EXPRESS

SCRIPTS HOLDING COMPANY, EXPRESS SCRIPTS, INC., CURASCRIPT, INC.,

ACCREDO HEALTH GROUP, INC. and UNITED BIOSOURCE CORPORATION

(“Defendants”), and submit this Joint Written Status Report pursuant to the Court’s Order of

April 18, 2018, Docket # 132.

                                           STATUS




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             1.   At the most recent status conference on April 18, 2018, the Court directed the

Parties to continue working together to finalize a proposed confidentiality order and submit same

to the Court by May 18, 2018 (as a joint order if possible), along with a status report addressing

any remaining disputes concerning the proposed confidentiality order.

             2.   The Parties have reached agreement on all terms of the proposed confidentiality

order. Accordingly, the Parties are submitting their Agreed [Proposed] Confidentiality Order to

the Court’s Proposed Order email address on May 18, 2018.

             3.   The Court also directed the parties to continue working on a proposed ESI

protocol and to include an update on their negotiations in their May 18, 2018 status report.

             4.   The Parties are still working together to arrive at a joint proposed ESI protocol

and to narrow their differences as much as possible before submitting a proposed ESI protocol to

the Court for consideration.

             5.   By way of background, Defendants sent a proposed ESI protocol to Rockford

Plaintiffs on March 13, 2018 and to MSP Plaintiffs on April 2, 2018. On April 17, 2018,

Plaintiffs jointly sent proposed revisions to Defendants’ proposed ESI protocol. On May 11,

2018, Defendants provided a further revised draft of an ESI protocol to Plaintiffs.

             6.   On May 18, 2018, the Parties held a lengthy two-hour telephonic meet and confer

to review the most recent version of the proposed ESI protocol. During that call, the Parties were

able to resolve some disputes and identify areas that may require the Court’s involvement and

possible ruling. Defendants and Plaintiffs have agreed to confer amongst themselves, and with

their respective clients and e-discovery teams, on specific disputes identified in the call that may

still be resolved without the Court’s involvement. The Parties plan to correspond and/or confer

further before the upcoming status conference on May 23, 2018.




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             7.   In the MSP Matter (1:18-cv-00379), on April 27, 2018, the MSP Plaintiffs

formally requested a conference pursuant to Fed. R. Civ. P. 26(f) to initiate discovery. On May

3, 2018, the MSP Plaintiffs and Defendants met and conferred telephonically about a Rule 26(f)

conference. Defendants advised that although they believe such a conference is premature, they

would agree to have a Rule 26(f) conference. The MSP Plaintiffs agreed to prepare a draft initial

status report to guide that discussion. The parties will continue to work together and seek any

appropriate scheduling input from the Court.


Respectfully Submitted,



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GLOBAL TECHNOLOGIES, INC.                      MALLINCKRODT ARD INC.
AND THE CLASS

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